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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE

In re:                               )
                                     )                 Chapter 11
RS FIT NW LLC,                       )
                                     )                 Case No. 20-11568 (TMH)
                     Debtor.         )
                                     )                 (Jointly Administered)
                                     )
                                     )
24 HOUR FITNESS WORLDWIDE, INC.,     )
                                     )
                     Plaintiff,      )
                                     )
           v.                        )
                                     )
CONTINENTAL CASUALTY COMPANY;        )                 Adv. Pro. No. 20-51051 (TMH)
ENDURANCE AMERICAN SPECIALTY         )
INSURANCE COMPANY; STARR SURPLUS     )
LINES INSURANCE COMPANY; ALLIANZ     )
GLOBAL RISKS US INSURANCE COMPANY; )
LIBERTY MUTUAL INSURANCE COMPANY; )
BEAZLEY-LLOYD’S SYNDICATES 2623/623; )
ALLIED WORLD NATIONAL ASSURANCE      )
COMPANY; QBE SPECIALTY INSURANCE     )
COMPANY; and GENERAL SECURITY        )
INDEMNITY COMPANY OF ARIZONA,        )
                                     )
                     Defendants.     )
                                     )

     PLAINTIFF 24 HOUR FITNESS WORLDWIDE, INC.’S REQUEST FOR ORAL
      ARGUMENT IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

 David E. Weiss (admitted pro hac vice)         Mark W. Eckard (No. 4542)
 T. Connor O’Carroll (admitted pro hac vice)    REED SMITH LLP
 REED SMITH LLP                                 1201 North Market Street, Suite 1500
 101 Second Street, Suite 1800                  Wilmington, DE 19801
 San Francisco, CA 94105-3659                   Telephone: (302) 778-7500
 Telephone: (415) 543-8700                      E-mail: meckard@reedsmith.com
 E-mail: dweiss@reedsmith.com
 E-mail: cocarroll@reedsmith.com

 Counsel for Plaintiff 24 HOUR FITNESS
 WORLDWIDE, INC.
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       On November 10, 2023, Plaintiff 24 Hour Fitness Worldwide Inc. (“24 Hour”) filed

Plaintiff’s Motion For Partial Summary Judgment in the above-captioned adversary proceeding.

[DKT No. 237.] That same day, Continental Casualty Company, Starr Surplus Lines Insurance

Company, Allianz Global Risks US Insurance Company, Liberty Mutual Fire Insurance

Company, Certain Underwriters at Lloyd’s, London, Allied World National Assurance Company,

QBE Specialty Insurance Company, and General Security Indemnity of Arizona (collectively,

“Defendant Insurers”) moved for summary judgment. [DKT Nos. 232, 234, 235, and 239.] On

January 12, 2024, 24 Hour filed oppositions to Defendant Insurers’ four motions for summary

judgment. [DKT Nos. 252–255.] That same day, Defendant Insurers filed an opposition to 24

Hour’s Motion for Partial Summary Judgment. [DKT No. 248.]

       WHEREFORE, pursuant to Local Rule 7007-3, 24 Hour respectfully requests that

oral argument be scheduled at the Court's convenience on the briefing between 24 Hour and

the Defendant Insurers to Plaintiff’s Partial Summary Judgment Motion.




Dated: February 12, 2024                          Respectfully submitted,

                                                  REED SMITH LLP

                                                  /s/ Mark W. Eckard
                                                  Mark W. Eckard (No. 4542)
                                                  1201 North Market Street, Suite 1500
                                                  Wilmington, DE 19801
                                                  (302) 778-7500
                                                  (302) 778-7575 (Fax)
                                                  meckard@reedsmith.com

                                                  David E. Weiss (admitted pro hac vice)
                                                  T. Connor O’Carroll (admitted pro hac vice)
                                                  101 Second Street, Suite 1800
                                                  San Francisco, CA 94105-3659


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                              (415) 543-8700
                              (415) 391-8269 (Fax)
                              dweiss@reedsmith.com
                              cocarroll@reedsmith.com

                              Counsel for Plaintiff 24 HOUR FITNESS
                              WORLDWIDE, INC.




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